Case 5:18-cv-00052-JSM-PRL Document 66 Filed 10/24/19 Page 1 of 3 PageID 530



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

  HEATHER COGAR,

         Plaintiff,

  v.                                                     CASE NO.: 5:18-cv-52-JSM-PRL

  MIKE PRENDERGRAST, as SHERIFF of
  CITRUS COUNTY, FLORIDA, JEFF DAWSY,
  individually, BRYAN HESSE, individually, and
  MIKE PRENDERGRAST, individually,

        Defendants.
  _____________________________________/


        UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
   RESPONSE TO DEFENDANTS’ DAUBERT MOTION TO EXCLUDE OPINION
                 TESTIMONY OF PLAINTIFF’S EXPERT
          Plaintiff, Heather Cogar, through undersigned counsel and pursuant to

  Fed.R.Civ.P. 6(b)(1)(A), hereby requests a twenty-day extension of time to file a response

  to the Defendants’ Daubert Motion to Exclude Opinion Testimony of Plaintiff’s Expert

  (“Daubert”) (Doc. 64) and, in support, states as follows:

                                 MEMORANDUM OF LAW

         1.      Defendant filed its Daubert Motion on October 11, 2019.

         2.      Middle District Local Rule 3.01(b) provides that a response to a motion

  must be filed “within 14 days after service of the motion...” which in this instance is Friday,

  October 25, 2019.

         3.      Plaintiff’s expert reviewed thousands of pages of discovery material.

         4.      Due to an unexpected technical problem, Plaintiff’s counsel has been unable

  to access critical material necessary to respond to Defendants’ Daubert Motion.


                                                1
Case 5:18-cv-00052-JSM-PRL Document 66 Filed 10/24/19 Page 2 of 3 PageID 531



         5.      The private network server, TrialWorks, a company contracted by

  Plaintiff’s counsel for document management, has shut down access to Plaintiff’s

  documents to this matter, and all other matters since October 11, 2019 (See Exhibit A).

         6.      TrialWorks discovered an anomaly to its systems the week of October 11,

  2019, the same week Defendants’ Daubert Motion was filed. (See Attached Exhibit A.)

         7.      Since October 11, 2019, Plaintiff’s counsel, as well as other TrialWorks

  clients, have been unable to access documents.

         8.      As of October 24, 2019, Plaintiff’s counsel remains unable to access all the

  necessary documents required to respond to Defendants’ Daubert Motion.

         9.      Plaintiff respectfully requests a twenty-day extension up to and including

  November 14, 2019, to respond to Defendants’ Daubert Motion to Exclude Opinion

  Testimony of Plaintiff’s Expert.

         10.     A twenty-day extension will not affect any other deadlines in the case.

         11.     No party will be prejudiced by this brief extension.

                          CERTIFICATE OF CONCILIATION
         12.     Pursuant to Local Rule 3.01(g), the undersigned has conferred with

  Defendants’ counsel, who does not oppose the relief sought herein.

         WHEREFORE, Plaintiff respectfully requests a twenty-day extension of time, to

  November 14, 2019, to file a response to the Defendants’ Daubert Motion to Exclude

  Opinion Testimony of Plaintiff’s Expert (Doc. 64).

                                                       Respectfully submitted,
                                                       WHITTEL & MELTON, LLC
                                                       /s/ Jay Lechner
                                                       Jay P. Lechner, Esq.
                                                       Florida Bar No.: 0504351
                                                       William J. Sheslow, Esq.

                                              2
Case 5:18-cv-00052-JSM-PRL Document 66 Filed 10/24/19 Page 3 of 3 PageID 532



                                                       Florida Bar No.: 92042
                                                       11020 Northcliffe Boulevard
                                                       Spring Hill, Florida 34608
                                                       Telephone: (352)683-2016
                                                       Facsimile: (352) 556-4839
                                                       Will@theFLlawfirm.com
                                                       lechnerj@theFLlafirm.com
                                                       Pleadings@theFLlawfirm.com
                                                       Jwalsh@theFLlawfirm.com
                                                       Pls@theFLlawfirm.com
                                                       Attorneys for Plaintiff


                             CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on this 24th day of October, 2019, I electronically
  filed the foregoing with the Clerk of the Court by using the CM/ECF system, which will
  send a notice of filing via electronic mail to all counsel of record.
                                                 /s/ Jay Lechner
                                             Jay Lechner, Esq.




                                             3
